Case: 1:19-mj-00739-KLL Doc #: 1 Filed: 11/01/19 Page: 1 of 2 PAGEID #: 1

AO 93 (Rev. 12/09) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)

Case No.
Priority Mail, Tracking Number, 9505 5142 4656 9303 2747 47, addressed to gis 5 Bee . on
EARnest lindSAy, 3102 WARSAW AVe, cincinnati, ohio 45205, with a return ) + - O; Wd La] 7 2 oO vo
address of PAtRice lindSAy, 5301 VAlley Ridge AVe, View PARK - WindSOR a i

hills, C.A. 90043.

SEARCH AND SEIZURE WARRANT

ee es

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the  Southem _ __ Districtof Ohio at es

(identify the person or describe the property to be searched and give its location):
Priority Mail, Tracking Number, 9505 5142 4656 9303 2747 47, addressed to EARnest lindSAy, 3102 WARSAW AVe, cincinnati, ohio 45205, with a return address
of PAtRice lindSAy, 5301 VAlley Ridge AVe, View PARK - WindSOR hills, C_.A. 90043,

The person or property to be searched, described above, is believed to conceal (identify the person or describe the

property to be seized):
A quantity of a controlled substance and/or proceeds which are evidence thereof, and/or contraband, in violation of Title

21, United States Code, Section 841(a)(1).

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before 1 ms cz

(not to exceed 14 days) —

CY in the daytime 6:00 a.m. to 10 p.m. [_] at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the

place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
___Karen L. Litkovitz _

(name)

(_] I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) [_] for : ____ days (not to exceed 30).
(_] until, the facts justifying, the later specific date of

Date and time issued: Us Bade ater : ; :

City and state: Cincinnati, Ohio __ Karen L. Litkovitz
, , _________ United States Magistrate Judge __

Printed name and title

 

 
 

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Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

Executing officer's signature

 

Date: _ a

Printed name and title

 

 
